        Case 2:13-cv-20000-RDP Document 2317 Filed 10/11/18 Page 1 of 1                             FILED
                                                                                           2018 Oct-11 PM 04:53
                                                                                           U.S. DISTRICT COURT
                                                                                               N.D. OF ALABAMA


                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION


IN RE: BLUE CROSS BLUE SHIELD                )      Master File No. 2:13-CV-20000-RDP
ANTITRUST LITIGATION                         )
(MDL No. 2406)                               )      This document relates to all cases.



                                           ORDER
       This case is set for a status conference with the Special Master on October 29, 2018 at a

mutually convenient time and place. Agenda items will include: (i) case planning based on

whether the Interlocutory Appeal is accepted by the Eleventh Circuit; (ii) collaboration in

resolving any remaining Privilege Log (documents) issues; and (iii) if, when, and how discovery

may be supplemented. If the parties wish to address additional items, they shall inform the

Special Master within a week prior to the status conference.

               DONE and ORDERED this October 11, 2018.



                                             _________________________________
                                             R. DAVID PROCTOR
                                             UNITED STATES DISTRICT JUDGE
